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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR06-027-JCC
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )            DETENTION ORDER
                                          )
11   QUANG LY,                            )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Manufacture Marijuana, Manufacturing Marijuana (3 counts)

16 Date of Detention Hearing:     January 27, 2006

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Defendant was not interviewed by Pretrial Services. He was born in Vietnam. He


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 is said to be a British citizen who entered this country on a visitor’s visa which has since expired.

02 He was residing in Kent, Washington, at the time of his arrest. There is little additional

03 information regarding his personal history, residence, family ties, ties to this District, income,

04 financial assets or liabilities, physical/mental health or controlled substance use if any.

05          (2)     An immigration detainer has not yet been filed, but it is expected that it will be

06 forthcoming based on the parties’ belief that the defendant is eligible for removal.

07          (3)     Based on the defendant’s immigration status, he does not contest detention.

08          (4)     The defendant poses a risk of nonappearance due to lack of background

09 information and immigration status. He poses a risk of danger due to the nature of the instant

10 offense.

11          (5)     There does not appear to be any condition or combination of conditions that will

12 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

13 to other persons or the community.

14 It is therefore ORDERED:

15          (1)     Defendant shall be detained pending trial and committed to the custody of the

16                  Attorney General for confinement in a correction facility separate, to the extent

17                  practicable, from persons awaiting or serving sentences or being held in custody

18                  pending appeal;

19          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

20                  counsel;

21          (3)     On order of a court of the United States or on request of an attorney for the

22                  Government, the person in charge of the corrections facility in which defendant is


     DETENTION ORDER                                                                                15.13
     18 U.S.C. § 3142(i)                                                                         Rev. 1/91
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01               confined shall deliver the defendant to a United States Marshal for the purpose of

02               an appearance in connection with a court proceeding; and

03         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

04               counsel for the defendant, to the United States Marshal, and to the United States

05               Pretrial Services Officer.

06         DATED this 27th day of January , 2006.



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08                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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